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 4

 5                      IN THE UNITED STATES DISTRICT COURT

 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 7
                                         ) Case No.: CR.S. 14-206 JAM
 8   United States of America,           )
                                         ) STIPULATION & ORDER TO AMEND
 9               Plaintiff,              ) CONDITIONS OF RELEASE
                                         )
10        vs.                            )
                                         )
11                                       )
     Richard O’Connell,                  )
12                                       )
                 Defendant.
13

14

15
          It is hereby stipulated and agreed between plaintiff, United
16
     States of America, by and through its counsel of record Jill Thomas,
17
     and defendant, Richard O’Connell by and through his undersigned
18
     counsel of record as follows:
19
          On October 5, 2015 the parties signed a formal agreement to defer
20
     prosecution of the indictment against Mr. O’Connell for a period of
21
     twelve months.    For the past seven months Mr. O’Connell has been fully
22
     compliant. By stipulation of the parties, and with the agreement of
23
     pre-trial services, Mr. O’Connell no longer needs the previously
24
     imposed electronic monitoring condition or the previously imposed
25
     curfew.    All other previously imposed conditions remain in effect.
26
     Those conditions are attached hereto as the “Second Amended Conditions
27

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 1   of Release.”   The United States and Pre-trial Services are aware of,

 2   and in agreement with, this modification.

 3
     Dated: April 25, 2016           Respectfully submitted,
 4

 5

 6
                                       __/s/ Shari Rusk___
                                         Shari Rusk
 7                                       Attorney for Defendant
                                         Richard O’Connell
 8

 9
                                       By: Jill Thomas________
10                                         Jill Thomas
                                           Assistant United States Attorney
11

12

13
                                       ORDER

14

15
          It is so ordered that the conditions of electronic monitoring and

16
     curfew are no longer imposed.    All other previously imposed conditions

17
     remain in effect.

18
     DATED: 4/26/2016

19

20                                     /s/ John A. Mendez________________
                                       Hon. Judge John A. Mendez
21                                     United States District Court Judge

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